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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


NOVELPOINT TRACKING LLC

                       Plaintiff,                     Case No. 6:12-cv-832-LED

               v.
                                                      (Judge Davis)
FORD MOTOR COMPANY

                       Defendants.


   PLAINTIFF NOVELPOINT TRACKING LLC AND DEFENDANT FORD MOTOR

                         COMPANY JOINT MOTION TO DISMISS

       Plaintiff NovelPoint Tracking LLC and Defendant Ford Motor Company (collectively

“Parties”) file this joint Motion to Dismiss with prejudice any and all claims, legal and equitable,

including without limitation counterclaims, cross-claims, and third-party claims, in this matter,

against all Parties pursuant to FED. R. CIV. P. 41, and thereby voluntarily dismiss this action.

       Dismissal of the claims enumerated above, with prejudice, is proper under FED. R. CIV. P.

41(a) because (i) the parties have resolved their disputes; (ii) dismissal is not prohibited by FED.

R. CIV. P. 23(e), 23.1(c), 23.2, or 66, or by any applicable federal statute; and (iii) all parties to

the case join in this Joint Motion to Dismiss. The Parties have not previously dismissed any

federal- or state-court actions against one another based on or including the same claim, but state

pursuant to FED. R. CIV. P. 41(a)(1)(B) that Defendant has taken a license from Plaintiff under

mutually acceptable terms and conditions in settlement of any and all claims the Parties have or

might have made against one another, and therefore dismissal of both Parties is proper with

prejudice and without further conditions.



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     A proposed Order of Dismissal is attached for the convenience of the Court.



DATED: March 21, 2013                      Respectfully submitted,


                                           __/s/ Everett Upshaw____________________
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